                                                                                                       City MSJ
                                                                                                      Exhibit C-2

                                                                                                     Attachment A-1   1
                           Request - Family Medical Leave of Absence
                                         (Please Print)
 Request for Family or Medical Leave (FMLA leave) must be made, if practical , at least 30 days prior to the
 date requested leave is to begin .


                                                                Date: __9'-+/ -5+/--N
                                                                                    ..___ _______                 _


                                                                  Home Phone #       · c11c1 - &J.   r -67.2. 7
 Employment Status
 (Check one)                         ✓ Full Time         _   Part Time          _   Temporary

 Hire Date /'). t 5 1° 0                      Length of Service

                                                   Request for Leave

 I request family or medical leave for one or more of the following reasons :


      Birth or placement for adoption of a child and in order to care for this child .

        Expected Date of Birth or Adoption - -- -

        Leave to Start _ _.__.__ _                              Expected Date of Return _______


 _X   In order to care for my spouse, child , or parent who needs my care due to a serious health condition .

        Leave to Start     q{l       I 11                       Expected Date of Return I J I Z t I        1-

 _    For serious health condition that makes me unable to perform my job.

      Provide Physician's Certification form .

        Leave to Start      I    I                              Expected Date of Return              I
                                                                                            - --I- -
 _    Intermittent or reduced hours leave schedule (if applicable ; subject to company approval) .

 Describe : - - - - -- - - - - - - - -- - - -- - - - -- -- -- - - - -




I Department Head Signature: _ _ _ __ _ __ _ _ _ _ _ Date: _ _I __I _



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                                                                                                  City MSJ
                                                                                                 Exhibit C-2

                                                                                               Attachment A- 1   2

                                       EMPLOYEE BENEFITS SECTION


Please complete the following section


•   Have you taken family or medical leave in the past 12 months?

11 Yes __ 'v(No __                          If yes , how many work days?
                                                                             - ---

The following terms and conditions are applicable to your requested FMLA leave of absence, if granted.

•   You must have been employed at least 12 months and worked 1,250 hours in the past 12 months .

•   Failure to provide a medical certification , if requested , will result in a denial of FMLA leave.

•   You may use any paid leave to which you are entitled, or the company may require you to exhaust your
    sick leave, personal , or vacation as part of your FMLA leave. You must notify us if you want to use paid
    leave, and the company will notify you if you must exhaust your accrued paid leave.

•   A fitness for duty certificate is required of all employees returning from leave after a serious health
    condition.

•   You will be reinstated upon return from a FMLA leave to an equivalent position.

•   If you fail to return to work after the leave, you will be financially responsible for the total cost (employer
    and employee portions) of any and all benefits maintained during FMLA leave.

•   When you return to work you must repay any amount due for the continuance of employee benefits
    during FMLA leave and the appropriate amount will be withheld from your paychecks .

•   After the leave period specified above, if you do not return to work or contact your supervisor or
    manager on the date of scheduled return, you will be considered to have resigned your position with the
    City of Raleigh .




Employee Signature




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                                                                                                  City MSJ
                                                                                                 Exhibit C-2

                                                                                      Attachment A-2
                                      Employees on Leave of Absence

                                       Election to Continue or Cancel
                                         Optional Benefit Coverage



Employee Name: _ _ _G-c;;._0_1.. . :'\={)---=S'---- - - -                                    _Q_
                                 Last                                         First           Ml

SSN: ;)'- Id-..    - ;_,{~     - 3}7'--/

Leave Dates: From:       _ 61-'4-'/3 (....L..l_._7_ _ _ _ , 200 /1
                                 4
                                                                     to _t_i -+J_ _ _ _ _ _ , 200~7

Type of Leave:         V     FMLA            _ _ _· SPECIAL LEAVE (unpaid only)

Specify if regular sick. extended sick or vacation pay leave is to be used below:

Paid: YES         V NO                       from:      1I l/17
 · npaid: YES __ NO _ _                      From:                      To: - - - - -- -
                                                      - - - - -

 Based on the type of Leave of Absence that you are requesting, you may choose one of the
following options with regard to the continuation or cancellation ofyour optional coverage
 benejits.

[_ ]              I elect not to continue any benefit coverage during my leave of absence, and I
                  understand that the City of Raleigh will cancel these coverages.

[_ ]              I elect to continue those benefit coverages that I have indicated from the attached
                  sheet. I understand that the premiums for these benefits are due in advance and
                  must be received by the 25 th of each month to continue coverage for the following
                  month. Arrangements will be made with the City of Raleigh Payroll Office to
                  prepay this amount in advance at the beginning of the leave period or to make
                  payment monthl y. Failure to pay timely will result in the cancellation of these
                  coverages.

[_ l              If qualified for Family Medical Leave (FMLA), l understand that medical, dental
                  and basic life coverage for me will continue to be provided by the city at no cost.
                  Premiums for dependent medical , dental and basic life coverage can be deterred
                  until I return to work from rMLA at which time the Payroll Office will work out
                  a payment schedule to repay these amounts via payroll deduction. I fu11her
                  understand that if I do not return to work or if my FMLA ends and I am approved
                  for additional Leave Without Pay, that all missed benefit premium coverages are
                  due to the City of Raleigh at that time, and that I am required to pay the premiums
                  for medical , dental & life coverage on myself at this point until I retl\rn to active
                  work with the City of Raleigh.

                  I have sufficient accrual s of Sick, Extended Sick, and/or Vacation Leave to cover
                  my time away from work. All of my current deductions may continue normally.


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                                                                                             City MSJ
                                                                                            Exhibit C-2

                                                                                 Attachment A-2

-'
     Please fill in all payroll deductions that you wish to continue:

     Benefit Coverage                                                                A mount
     Health Insurance - Employee - Paid by city while actively working
                          Spouse/Dependent
     Dental Insurance - Employee - Paid by city while actively working
                          Spou se/Dependent
     Basic Life Insurance - Employee - Paid by city while act ively working
                             Spouse/Dependent
     Voluntary Life Insurance - Employee
                                   Spouse
                                   Dependent
     NC Mutual Life In surance
     Disability Income Plan
     Critical Illness
     Cred it Union - Shares
                      Loan
                      Fire Pension
     Supplemental Retirement Loan
     40 1k Loan
     Child Support Garnishment (County _ __ __ __ _ ___,.
     Tax Garnishments (Federal. State. & County)
     Bankruptcy Payments
     Un ited Way
     Professional Dues: RPFA
                           RPPA
            Total Deductions                                                       $- - - --

     I understand that ({'my benefit coverage/deductions are not paid according to the payment
     election indicated above that my benefits coverage will be cancelled by the City of Raleigh.




                 Employee Signature                                      Witness


                    Date                                                  Date




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                                                                                                                 City MSJ
                                                                                                                Exhibit C-2


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      Certification of Health Care Provider for
      Family Member's Serious Health Condition
      (Family and Medical Leave Act)
                                                               U.S. Department of Labor
                                                               Wage and Hour Division
                                                                                                                   HD
       DO NOT SEND COMPLETED FORM TO THE DEPARTMENT OF LABOR, RETIJRN TO THE PATIENT.             0MB ConlrolNumber· I23S-0003
                                                                                                           Expires: 5/31/2018
      SECTION I: For Completion by the EMPLOYER
      INSTRUCTIONS to the EMPLOYER: The Family and Medical Leave Act (FMLA) provides that an employer
      may require an employee seeking FMLA protections because of a need for leave to care for a covered family
      member with a serious health condition to submit a medical certification issued by the health care provider of the
      covered family member. Please complete Section 1 before giving this form to your employee. Your response is
      voluntary. While you are not required to use this form, you may not ask the employee to provide more information
      than allowed under the FMLA regulations, 29 C.F.R. §§ 825.306-825.308. Employers must generally maintain
      records and documents relating to medical certifications, recertifications, or medical histories of employees' family
      members, created for FMLA purposes as confidential medical records in separate files/records from the usual
      personnel files and in accordance with 29 C.F.R. § 1630.14(c)( I), if the Americans with Disabilities Act applies,
      and in accordance with 29 C.F.R. § 1635.9, if the Genetic lnfonnation Nondiscrimination Act applies.

      Employer name and contact: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      SECTION II: For Completion by the EMPLOYEE
      INSTRUCTIONS to the EMPLOYEE: Please complete Section 11 before giving this form to your family
      member or his/her medical provider. The FMLA permits an employer to require that you submit a timely,
      complete, and sufficient medical certification to support a request for FMLA leave to care for a covered family
      member with a serious health condition. If requested by your employer, your response is required to obtain or
      retain the benefit of FMLA protections. 29 U.S.C. §§ 2613, 2614(c)(3). Failure to provide a complete and
      sufficient medical certification may result in a denial of your FMLA request. 29 C.F.R. § 825.313. Your employer
      must give you at least 15 calendar days to return this form to your employer. 29 C.F.R. § 825.305.

      Your name:      ?~±<, d'--                DAU,                           U--~5
                   First                       Middle                        Last

      Name of family member for whom you will provide care:
                                                                                 First         Middle           Last
      Relationship of family member to you: _ ___..E._....(l..,._}.._._M=-V;.....__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            If family member is your son or daughter, date of birth:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Describe care you will provide to your family member and estimate leave needed to provide care:




           /?2---
      Employee Signature                                                Date
                                                                                    "l/-g
                                                                                     r ./1 ,
      !'age I                                      CONTINUED ON NEXT PAGE                       Form WH-380,F Revised May 2015




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                                                                                                                                                             Exhibit C-2



  SECTION ill: For Completion by the HEALTH CA;RE PROVIDER
  INSTRUCT IONS to the HEALTH CARE PROVIDER : The employee listed above has requested leave under
  the FMLA to care for your patient. Answer, fully and completely, all applicable parts below. Several questions
  seek a response as to the frequency or duration of a condition, treatment, etc .. Your answer should be your best
  estimate based upon your medical knowledge, experience, and examination of the patient. Be as specific as you
  can; terms such as "lifetime," "unknown," or "indetermina te" may not be sufficient to determine FMLA
  coverage. Limit your responses to the condition for which the patient needs leave. Do not provide information
  about genetic tests, as defined in 29 C.F.R. § t635.3(f), or genetic services, as defined in 29 C.F.R. § 1635.J(e).
  Page 3 provides space for additional information, should you need it. Please be sure to sign the form on the last
  page.                                                                             5~'38            fur~"- 'f_.o,v;...             ~,')c
  Provider's name and business address:....      ~= ~ _.,U=~
                                                           \ .........t"'\....fN....__-=Oc..o:::........_    ~...,l'k=l~
                                                                                                                    -'- :::X·"'J\hu.
                                                                                                                                 I ,,_..,;J"J'-'c=-=
                                                                                                                                                 .. 2=-:J-
                                                                                                                                                        _._,;;;;C.--'O;._G...,!__
                                                                                                                                                                           \
  Type of practice / Medical specialty: _ ,1.:;..~!l!!S.!~" """""-c':::µ::...;;;\- --                   -     -   -    -    -    - --            -       -   - --       -
  Telephone: (    0\ lot     )._.;J~ ""'-aaW..:!.."".,..
                                                    o ,.__ ~~ -
  PART A: MEDICAL FACTS
  1. Approximate date condition commenced: ~-..,l,l.L~                         ...t=a.c.-i......!.-- - -- - - - - - - - - - - ~


     Was the patient admitted for an overnight stay in a hospital, hospice, or resi ential medical care facility?
     _ No ~Yes. If so. dates of admission:          '& /2. ~ I ""l- - <&         I   I 1'                   l :.z.a
                                                            / 2S
     Date(s) you treated the patient for condition: --"g::...u~./-"1-7.....,.
                                                                       - __--'-4-,...:.-J-Ji..~...a...-                      - --            -       -       - -- --

     Was medication, other than over-the-counter medication, prescribed? ~                                        No --X:res.
     Will the patient need to have treatment visits at least twice per year due to the condition? _                                              No _ _ Yes              fb~~, ~j
     Was the patient referred to other health care provider(s) for evaluation or treatment ~. physical therapist)?
    :t_ No     _ _ Yes. If so, state the nature of such treatments and expected duration of treatment:




2. Is the medical condition pregnancy? ~                No _          Yes. Ifso, expected delivery date:                          ~.,c. .c;- - - - ---
3. Describe other relevant medical facts, if any, related to the condition for which the patient needs care (such
   medical facts may include symptoms, diagnosis, or any regimen of continuing treatment such as the use of
   specialized equipment):




                                                _._.~ !.\,L-'= ,..,.-=- y,.__-=·"-ir=-=-_,_.,;;-·"""S...,-- --=--~ =,-"""""'........,:....:.1---=• 'Millw
                           ,i~       ~                                               ~ ;J.S           1" ~
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                        Y'(~,(          frolM     4 ~0N NEXTMGE                                                                     Form WH-380-F Revised May 2015




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                                                                                                                                                                             Exhibit C-2


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      PART B: AMOUNT OF CARE NEEDED: When answering these questions, keep in mind that your patient's nee9
      for care by the employee seeking leave may include assistance with basic medical, hygienic, nutritional, safety or
      transportation needs, or the provision of physical or psychological care:
      4. · Will the patient be incapacitated for a single continuous period of time, including any time for treatment and
          recovery? _•_No                      Xves.                                                                                                 .
          Estimate the beginning and ending dates for the period of incapacity:                                                          il~ h~ - Hl2sL1+-!W~)(
          During this time, will the patient need care? _ No _}yes.
          Explain the care needed by the patient and why such care is medically necessary:

               eo..~U\-1- w ·l\                             VC ~                   rG           hc.\.p           Lo/ Ao_,L
                                                                                                                         ,; ;,~~ ---..,,.~~
              CU"d... ¾\OM O-ff~\-ll\'½VW2.n4s 1 C:,-k .




      5. Will the patient require follow-up treatments, inciuding any time for recovery? - No _¥es. '{>c-&~; b~

         Estimate treatment schedule, if any, inc\uding the dates of any scheduled appointments and the time required
         each appointment, including any recove1y period:
                                                                                                                                                                                            hrl
                           ~                o+              t..S:\lMo..k                          f& :::rbl~ :t\fLAf
         Explain the care needed by the patient, and why such care is medically necessary:
                                                                                                                                                          o..11Gn\- l":l ...t:c.C..C, Leri~
                                                                                                                                 t..ulr A,Ol.s7 ha..osrac :tr,L.\l,;)fi_t e,,+<.:.
                                                                      n intermittent or reduced schedule basis, including any time for recovery?_


        Estimate the hours the patient needs care on an intennittent basis, if any :

        ~ ..:::.,..-=-=-=--thmoraur(r(~s)J7p~e!rtililrnnyy,;-_=-=-=-=-=-=-:adaifjyrss:jp)i!e;r"r'wree:eeff!(-
                                                                                                 \i             t1frMmn11;::= = = = ===== ftt,,r,ro"'u.,;g11;ti:--.:_-:_--:_-:_-:_-_:
                                                                                                                                                                                    -_,;_ _ __

        Explain the care needed by the patient, and why such care is medically necessary:

        ~~;:
           LL._,_\1~
                   l;~
                     or~,___..i.:Pi~ ·~
                                      ~~.--.. . .-=-:,, ce..-~-l-f,,-='/~"'""'~"""'l"""""""fi,._~:.__,......~"--A,OC\A-\......                  - = 1 - L l . ~~        ~ ~·            &o1r-
              :\n?~~
     Page 3                                                                            CONTINUED ON NEXT PAGE                                             Form WH-380-F Revised May 2015




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     -7. Will the condition cause episodic flare-ups periodically preventing the patient from participating in normal daily
         activities? -..:'...Ne _-_ Yes. (J~ \ ~                                                          _
         Based upon the patient's medical history and your knowledge of the medical condition, estimate the frequency of
         flare-ups and the duration of related incapacity that the patient may have over the ·next 6 months (Y,, 1 episode
         every 3 months lasting 1-2 days):

         F,equOncy :     _     times per ~                           month(s)

         Duration:
                                              --
                                             day(s) per episode

         Does the paf nt need care during these flare-ups? _               No   ¥      Yes.
         Explain the care needed by the patient, and why such care is medically necessary: _ _ __ _______

         - -~          "10:t M t;d.;'(A\½                 <5>:t :i~--~ ~ - -~ - ~



     ADDITIONAL INFORMATION: IDENTIFY QUESTION NUMBER WITH YOUR ADDITIONAL ANSWER.

             xm\)19'J< e               , Ali \\ v:-eq o_, ,lLC- oc.e ~ coJi:\o cf t-okmi ~Jf)
              \~.(.. 3-.u.rii\J !fu<_ ~ ttod., 0 ~ i }~ Jt1• 10 \ )25 )\:l ~ k:
     .............L-...t--"~ - ,\1">'\ie:dt W: b \lfXfu,M :'U.r:w                          5


                                                                                         II 11-
     Signature of Health Care'Provider                                    Date

                             PAPERWORK REDUCTION ACT NOTICE AND PUBLIC BURDEN STATEMENT
     If submitted, it is mandatory for employers to retain a copy of this disclosure in their records for three years. 29 U.S.C. § 2616;
     29 C.F.R. § 825.500. Persons are not required to respond to this collection ofinfonnation unless it displays a currently valid 0MB
     control number. The Department of Labor estimates that it will take an average of 20 minutes for respondents to complete this
     collection of information, including the time for reviewing instructions. searching existing data sources. gathering and maintaining the
     data needed. and completing and reviewing the collection of information. If you have any comments regarding this burden estimate
     or any other aspect of this collection information, including suggestions for reducing this burden, send them to the Administrator,
     Wage and Hour Division, U.S. Department of Labor. Room S-3502. 200 Constitution Ave.• NW, Washington. DC 20210.
     DO NOT SEND COMPLETED FORM TO THE DEPARTMENT OF LABOR; RETURN TO THE PATIENT.
     Page4                                                                                                  Form WH-380-F Revised May 2015




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 Certification of Health Care Provider for                  U.S. Department of Labor
 Family Member's Serious Health Condition                   Wage and Hour Division
 (Family and Medical Leave Act)                                                                      •   • ·'· ·   u -1 1   ,.   · ,,



 DO NOT Sl<ND COMPL~Tl10 l'ORM TO Tl IE DEPARTMfiNT OF LAOOR; RE.TURN TO TIIE PATll.iNT      0MB CQntrQJ Nuinber 1235-0003
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   - ·- ------------~----
                  For Conipl~(to11 by the EMPLOYER
                                                   - -- - --~~=-~,=---·-··•·                             li;u,.iw~I.W.18 ..
 INSTRUCTIONS to the EMPLOYER: The Family and Medical Leave Act (FMLA) provides that an employer
 may l'equire an employee seeking FMLA protections because of a need for leave to care for a covered family
 member with a serious health condition to submit a medical certification issued by the health care provider of the
 covered family member, Please complete Section I before giving this form to your employee. Your response is
 voluntary. While you are not required to use this form, you may not ask the employee to provide more information
 than allowed under the FMLA regulations, 29 C.F.R. §§ 825.306-825.308. Employers must generally maintain
 records and documents relating to medical certifications, recertifications, or medical histories of employees' family
 members, created for FMLA purposes as confidential medical records in separate files/records from the usual
 personnel files and iri accordance wlth 29 C.F.R. § 1630.14(c)(I ), if the Americans with Disabilities Act applies.
 and in accordance with 29 C.F.R. § 1635.9, if the Genetic Information Nondiscrimination Act applies .

. Employer name and contact: City of Raleigh/Human Resources/Benefits Division
 phone: 919-996-3315 fax: 919-996-7611
 .SECTION:               . Coin'p·1eiian\b''.
   - . ··-- •- ,.,_ ll{·F~r        . . y th~ EMPt:OYEE
 INSTRUCTIONS to the EMPLOYEE: Please complete Section II before giving this form to your family
 member or his/her medical provider. The FMLA permits an employer to require that you submit a timely,
 complete, and sufficient medical certification to support a request for FMLA leave to care for a covered family
 member with a serious hea,lth condition. If requested by your employer, your response is required to obtain or
 retain the benefit ofFMLA protections. 29 U.S.C. §§ 2613, 2614(c)(3). Failure to provide a complete and
 sufficient medical certification may result in a denial of your FMLA request. 29 C.F.R. § 825.313. Your employer
 must give you at least 15 calendar days to return this form to your employer. 29 C.F.R. § 825.305.

 Your name:   P7l:tY) GK.
              First                        Middle
                                                                         LJinct
                                                                          Last
                                                                                s
 Name offamil)'. member for whom you will provide care

 Relationship of family member to you:   f )\,ffi Lr
                                         -'----'--'-=-----------------------
      1f family member is your son 01· daughter, date of birth;_ _ __ _ _ _ _ _ _ _ __

 Descl'ibe care you will provide to your family member and estimate leave needed to provide care:




Employee Signature                                                   Date
l'age I                                        CONTINUED ON Nl!XT PAGl.i                   l'orm WI 1-380-1' R~v1scd May 2015




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        s:E;_c_
              r1PNJI.(~ Foi.conip1~Jiifo by t1ic 11li:A_LTH CA@PROVIDE~
        INSTRUCTIONS to the HEALTH CARE PROVIDER: The employee listed above hns requested leave under
        the FMLA to care for your patient. Answer, folly and completely, all applicable parts below. Several questions
        seek a response as to the frequency or duration of a condition, treatment, etc. Your answer should be your best
        estimate based upon your medical knowledge, experience, at1d examination of the patient, Be as specific as you
        can; terms such as "lifetime," .,unknown.'' or '"Indeterminate" rnay not be sufficient to determine FMLA
        coverage. LimiL your responses to the condition for which the patient needs leave. Do not provide information
        about genetic tests, as defined in 29 C.F.R. § 1635.3(0, or genetic services, as defined in 29 C.F.R. § \635.3(e).
        Page 3 provides space for additional information, should you need it. Please be sure to sign the fonn on the last
        page.                                                                  \~?A S\Y-, f'-orKS V<.d. 6ulte \00
        Provider's name and busineS$ address:     l,~ rs G~\"ctn        er µaJtJ gh       I N c., 2.1 l JJ O9

                                              N_W.;;.__Yo-'--S=\)=---r..,gf-'_e....~-=,---
        Type of practice/ Medic~! specialty: ....                                        _-------------
        Telephone: { l119 )10':J·3L\-OO                                 '.' Fax:cqioi) 1B:r78\0
        PAid'A: MEDICALFACTS
        1~-Approximate date condition commenced:        :Aug lJ St       20 1      w,_ l                       .                       __
           P1·obnble duration of condition:   f'N9.      2 io I 2Dl 7            un·ti \ iAeemfdi               ;'\O   longer~ l'Y\ecl( _ca,l
                                                                                                                                          neGeSbl tJ
          Was the Q_1}1lent admitted for an over~ig!1t slay inn ho~pitnl, hospice~or residential medical cnre facility?                            ·
          ·~·No .AYes. Ifso,datcsofadm1.ss1on:               .rwg.2?, to nv~Z""'D'-17                '-_,________
           Datc(s) you treated the patient for conditioi1:   3 ·1.C, .·\] i,   Ci)" •   f> ·\J I '3 · Z.2 •I J , ll ·2,(), l] I 12. · 18 ·t 7
           Was medication, other than over-the-counter medication, prescribed? _No '){.__ Yes.

           Will the patient need to have trentment visits at least twice per year due to the condition?            _l).JQ _ _       ¥es   poss(bl~
          \X_a1~ the patient referred to other health care provider(s) for evaluation or treatment ~ . physical therapist)?
          _)L No __ Yes. Jfso, state the nature of such treatments and expected duration of treatment:




        2. ls the mc.dical condition pregnancy? ..:iNo _Yes, Ifso, expec1ed delivery date: _ _ _ _ _ _ __

        3. Describe other relevant medical facts, if any, related to the condition for which the patient needs care (such
           medical facts may include symptoms, diagnosis, or any regimen of continuing treatment such as the use of
           s ccialized e ui men!):




                                                       (.'ONTINUl1D ON NliX1' l'A(J!;                         l'orm WI t.380,F Ruvised May 20 IS




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N'r•¢ar~.by_1he employee seeking !_eave 1nny includ_e *'ssi.~t!lrce wi!h• liaslc niedlcal, liygi~nic, n~tt,tlo~a). saj'¢ty o.'r
fran·sportrition needs, or the provision of phy~i~al ·or psychologic'iih:iu-e:
4. Will the patient be ii:tJapacitated for a single continuous period of time, Including any time for treatment and
   recovery? _No ..]:LYes.                                                       ·
   Estimate the beginning ~md ending dates for the period of incapacity: __     8..:J,S · \]     1))'.)ti l   dee vne.d-.. no .
   During this time, will the patient need care? _ No'l, Yes.                                          \O\'\l3l(""         t'Y)~ l'C.~f
   Explain the care needed by the patient and why such care is medically necessary:                                            Y\ CCS~t1~
  l2atLIDt.~~nL_.,tff4.Vltt  Y\Cl'f? \AH t\'\ t\DLS J tY~hJ f:X)Yt,?itl~n to
   an~, fmro :;tPP---~-"Jl:h1L~. .£+_c,
                                   . . . ....._
                                            . ~ - - -- - -



5. Will the patient require follow-up treatments, including any time for recovery?          -No _?es.            pbSS{ IQ\~
  Estimate treatment schedule, If any, including the dates of any scheduled appointments and the tirnc required for
  each appointment, Including any recovery period:



  Ex lain the care needed by the patient, and why such care is medically necessary:            QAn.eX\t \.s recov tYi n~
                                Ahd Will                 U\'re, he\ Wf-\-h ADLb trMJ                                   y       tiu1,etc.
6. Will,.;tjie pntient require care on nn intermittent or reduced schedule basis, Including any time for recovery?_
   No A. Yes.                   .

  Estimate the hours the patient needs care on an intermittent basis, if any:

  _-_ _ hour(s) per day;          ·- -• · days per week        from_·_·_ _ _ __              through _ _ __ _ __

  Explain the care needed by the pntlent, and why such care ls medically necessary:

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                                                                                                                                      City MSJ
                                                                                                                                     Exhibit C-2



   7, Will the condition causo episodic flare-ups periodically preventing the patient
                                                                                      from pnrticipatlng in normal daily
      aclivi1ics? __No ___ Yes.

         Based upon the patient's medical history and your knowl~dge of lhe medical
                                                                                        condition, estimate the frequency of
         flare-ups and the duration of related incapacity that the pntient may have over
                                                                                         the next 6 month s(~. I episode
         every 3 months lasting 1-2 days):

         Frequency: _ _ times per _ _ week(s) _ _ month(s)

      Dura tion:_ hours or_ day(s) per episode

      Does the patient need care during these flare-ups? _ _ No __ Yes.

      Explain the care needed by the patient, and why such care is medically necessar
                                                                                     y : _ _ _ _ _ _ _ _ _ __




     -        .· .·· -··- - -
 ADDITIONAL INFORMATION: fDBNTIFY QUESTION NUMBERWlT
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Signature ofHenUh C::»re Provider
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